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      ~AO 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
                Sheet I




                                              UNITED STATES DISTRICT COURT 12 OCT 11 Pl'i12: 53
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CAS~
                                        v.                                         (For Offenses Committed OrOOr.After November 1, 198~JY

            YESENIA YO MARA CARDONA-VASQUEZ (02)                                   Case Number: 12CR2496-AJB-02

                                                                                    Michael J. Codner RET
                                                                                   Defendant's Attorney
    REGISTRATION NO. 34149298

    D
    THE DEFENDANT:
     ~ pk~~~i~~oooo~~_E_i_~_t_o_f_t_~~fu_d_~_t_m_e_n_t~~~~~~~~~~~~~~~~~~~~~~~~~~~_
     D was found guilty on count(s)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~_
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), wh~h involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature ofOtTense                                                                               Number(s)
8 USC 1324(a)(I)(A)(ii)               CONSPIRACY TO TRANSPORT AnON OF ILLEGAL ALIENS                                                             8




        The defendant is sentenced as provided in pages 2 through~~-,4~_ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D   The defendant has been found not guilty on count(s)

                                                           D
                                                            ~~~~~~~~~~~~~~~~~~~~~~~~~~--




  'X'
  ~
      Count(s) _R_e_m_a_m_m-=g,--o_u_n_ts~~~~~~~~~~~~~~_is
                   .. C                                                                       are~
                                                                                                   IVI d'Ismlsse
                                                                                                            . d on th emotion
                                                                                                                          . 0 f t he Umte
                                                                                                                                       . d States.

  ~ Assessment: $100.00 - Waived



  ~ Fine waived                                     D Forfeiture pursuant to order filed _~~~~~~~_, included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               October 10, 2012




                                                                                                                  GLIA
                                                                              UNITED STATES mST               CT JUDGE


                                                                                                                                            12CR2496-AJB-02
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 ....... Imprisonment

                                                                                            Judgment - Page _   .....2_ of    4
 DEFENDANT: YESENIA YON AR1J CARDONA-VASQUEZ (02)
 CASE NUMBER: 12CR2496-AJB-02
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ----------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

        Defendant delivered on       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By _ _ _ _~~~~==~~~~~~-----
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   12CR2496-AJB-02
